                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )
 v.                                                    )          No. 3:06-CR-161
                                                       )          (PHILLIPS/GUYTON)
 JERRY HAROLD WHALEY and,                              )
 EDWARD WILLIAM STRICKLAND                             )
                                                       )
                        Defendants.                    )


                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This case is before the undersigned on Defendant Strickland’s Motion

 To Extend Discovery And Motion Deadlines And Continue Trial [Doc. 13] and Defendant Whaley’s

 Motion To Extend Motion Cut-Off Deadline [Doc. 14]. Assistant United States Attorney Ed

 Schmutzer appeared on behalf of the government. Attorney Jonathan Moffatt was present for

 Defendant Whaley, who was also present at the hearing. Attorney Michael Coleman appeared on behalf

 of Defendant Strickland, who was not present at the hearing.

                In his Motion To Extend Discovery And Motion Deadlines And Continue Trial [Doc.

 13], counsel for Defendant Strickland asks the Court to extend the scheduled motion cut-off deadlines,

 pretrial conference and trial dates in this case. Mr. Coleman requests said extensions for numerous

 reasons, including his recent appointment as counsel for Defendant and the fact that he has had

 insufficient time to obtain or review the discovery received from the government. At the hearing,

 counsel for Defendant Whaley also joined in Defendant Strickland’s motion [Doc. 13], as well as

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 requesting an extension of the motion cut-off deadline [Doc. 14]. In support thereof, Mr. Moffatt

 indicated to the Court that he had not been able to complete his investigation into the circumstances of

 the case and requested additional time within which to assess the need to file pretrial motions in this case.

 Mr. Moffatt also represented to the Court that he had discussed with Defendant Whaley his right to

 a speedy trial and that Mr. Whaley

 did not object to his attorney’s request that the trial be continued and agreed that he wanted his trial

 to be continued.

                 The Court finds Defendant Strickland’s Motion To Extend Discovery And Motion

 Deadline and Continue Trial [Doc. 13] and Defendant Whaley’s Motion To Extend Motion C ut-Off

 Deadline [Doc. 14] to be well taken and finds that the ends of justice served by granting the motions

 outweigh the best interest of the public and Defendants in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).

 Noting the swiftly approaching February 5, 2007 trial date, the Court finds that the failure to grant

 a continuance of the trial date would deprive the parties of adequate time to assess the need to file

 pretrial motions in this case and to prepare for trial. See 18 U.S.C. § 3161(h)(8)(B)(iv). The Court

 finds that this process could not be accomplished before the February 5, 2007 court date or in less

 than approximately four and one-half (4.5) months. The Court finds that if the continuance were

 not granted a miscarriage of justice would occur. 18 U.S.C. 3161(h)(8)(B)(i). Accordingly, the

 Court GRANTS the motions [Docs. 13 and 14].

                 In light of these findings and its granting of the motions [Docs. 13 and 14], the Court

 set a new trial date of June 5, 2007. The Court further finds, and the parties agreed, that all the time

 between the January 17, 2007 hearing and the new trial date of June 5, 2007, is fully excludable

 time under 18 U.S.C. § 3161(h)(8)(A)-(B). Regarding further scheduling, the Court will extend the



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 motion-filing deadline to February 21, 2007. Responses are due on or before March 14, 2007.

 The parties are to appear before the undersigned for a pretrial conference on May 24, 2007, at 9:30

 a.m. Additionally, reciprocal discovery is due on or before the pretrial conference date.

                Accordingly, it is ORDERED:

                       (1) Defendant Strickland’s Motion To Extend
                       Discovery And Motion Deadlines And Continue Trial
                       [Doc. 13] is GRANTED;

                       (2) Defendant Whaley’s Motion To Extend Motion
                       Cut-Off Deadline [Doc. 14] is GRANTED;

                       (3) The trial of this matter is reset to commence on
                       June 5, 2007, at 9:00 a.m., before the Honorable
                       Thomas Phillips, United States District Judge;

                       (4) All the time between the January 17, 2007
                       hearing and the new trial date of June 5, 2007, is
                       fully excludable time under the Speedy Trial Act for
                       the reasons set forth above;

                       (5) A new motion deadline is set for February 21,
                       2007;

                       (6) Responses are due on or before March 14, 2007;

                       (7) A pretrial conference is set for May 24, 2007, at
                       9:30 a.m., before the undersigned; and

                       (8) Reciprocal discovery is due on or before May 24,
                       2007.

                       IT IS SO ORDERED.

                                              ENTER:

                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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